     Case 5:24-cv-00662-JD      Document 1   Filed 06/28/24   Page 1 of 5




                   IN THE UNITED STATES DISTRICT COURT FOR
                      THE WESTERN DISTRICT OF OKLAHOMA
1. CITIZEN POTAWATOMI COMMUNITY              )
DEVELOPMENT CORPORATION,                     )
                                             )
   Plaintiff(s),                             )   Case No. CIV-24-662-JD
                                             )
    v.                                       )
                                             )
1. NATHAN O. BEAUCHAMP;                      )
2. ADA OUTDOORS, LLC., an Oklahoma           )
limited liability company;                   )
3. SHAWNEE OUTDOORS, LLC, an
Oklahoma limited liability company;          )
4. BOARD OF COUNTY COMMISSIONERS             )
OF PONTATOC COUNTY;                          )
5. TREASURER OF PONTOTOC COUNTY;             )
6. CAPITOL SERVICES, LLC, an Oklahoma        )
corporation;
                                             )
7. CATERPILLAR FINANCIAL SERVICES
CORPORATION, a foreign corporation;          )
8. CITIZENS BANK OF ADA, an Oklahoma         )
banking corporation;                         )
9. CORPORATION SERVICE COMPANY, a            )
foreign corporation;
                                             )
10. FIRST UNITED BANK AND TRUST
CO., an Oklahoma banking corporation;        )
11. HUNTINGTON DISTRIBUTION                  )
FINANCE, a foreign corporation;              )
12. MAGOO FINANCIAL, a foreign               )
corporation;
                                             )
13. OKLAHOMA HERITAGE BANK, an
Oklahoma banking corporation;                )
14. TCF INVENTORY FINANCE, a foreign         )
corporation;                                 )
15. THE UNITED STATES SMALL                  )
BUSINESS ADMIINSTRATION,
                                             )
   Defendant(s).                             )
         Case 5:24-cv-00662-JD         Document 1      Filed 06/28/24    Page 2 of 5




                        NOTICE OF REMOVAL TO THE
                       UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

TO THE HONORABLE JUDGES OF THE UNITED STATES
DISTRICT COURT FOR THE WESTERN DISTRICT OF OKLAHOMA:

       Assistant United States Attorney Kay Sewell respectfully represents the following:

       1.       U.S. Small Business Administration (hereinafter “SBA”) is a United States

Government Agency named as an entity that may be entitled to recovery in this foreclosure

action. This notice of removal involves a civil action pending in the District Court of

Oklahoma County, State of Oklahoma styled Citizen Potawatomi Community Development

Corporation v. Nathan O. Beauchamp, et al.; Case No. CJ-2024-141. No trial has occurred

in this matter. Pursuant to 28 U.S.C. '' 1442, 1446 and Local Civil Rule 81.2, attached are

copies of all process, pleadings, and orders served upon the United States Attorney’s Office

for the Western District of Oklahoma in this action. (See Ex. 1 (Summons); Ex. 2 (Petition);

and Ex. 3 (Copy of OSCN Docket Sheet from Pottawatomie County)).

       2.       The Petition filed in this action asserts the Defendant Nathan O. Beauchamp,

in his personal capacity and as a member of the limited liability companies named as

Defendants, made, executed and delivered to Plaintiff certain Promissory Notes and Real

Estate Mortgages as described in the Petition (Exh. 2, Petition).

       3.       Defendant Beauchamp and the limited liability companies have defaulted on

said notes and mortgages.

       4.       SBA’s claim in this matter is considered to be secured and entitled to priority

distribution.
        Case 5:24-cv-00662-JD       Document 1     Filed 06/28/24    Page 3 of 5




      5.     This action is removable to this Court pursuant to 28 U.S.C. ' 1442(a)(1)

because the lawsuit involves a claim by U.S. Small Business Administration, an agency of

the United States. Pursuant to the provisions of 28 U.S.C. ' 1442(a)(1), the United States

gives notice that the above-referenced action, now pending in the District Court of

Pottawatomie County, State of Oklahoma, is hereby removed to this Court.

      DATED this 28th day of June, 2024.

                                         ROBERT J. TROESTER
                                         United States Attorney

                                         s/ KAY SEWELL
                                         Kay Sewell, OBA #10778
                                         Assistant U.S. Attorney
                                         United States Attorney's Office
                                         Western District of Oklahoma
                                         210 Park Avenue, Suite 400
                                         Oklahoma City, OK 73102
                                         (405) 553-8707 (Fax) (405) 553-8885
                                         Email: kay.sewell@usdoj.gov

                            CERTIFICATE OF SERVICE

x     I hereby certify that on June 28, 2024, this document was submitted as an initiating
      document pursuant to ECF Policies & Procedures Manual, § II.A.2., to the following
      email new cases email address: newcases@okwd.uscourts.gov and that all initiating
      documents are attached as separate pdf files.

x     I hereby certify that on June 28, 2024, I served the attached Notice of Removal by
      U.S. Mail on the following counsel:

Stephen O. Layman                           George Wright
Mid-Continent Tower                         1601 Gordon Cooper Drive
401 South Boston Ave, Suite 500             Shawnee, OK 74801
Tulsa, OK 74103                             George.wright@potawatomi.org
steve@laymanmorris.com                      Attorney for Plaintiff
Counsel of Record for Defendant Nathan
O. Beachamp
       Case 5:24-cv-00662-JD      Document 1   Filed 06/28/24    Page 4 of 5




Jason Sansone                           Jack Cadenhead
Lyndon W. Whitmire                      The Cadenhead Law Firm, P.C.
Corporate Tower, Thirteenth Floor       P.O. Box 2067
Oklahoma City, OK 73102                 Seminole, OK 74818-2067
Attorney for Defendant, Heritage Bank   Attorney for Defendant, Citizens Bank of
                                        Ada.

Jerome S. Sepkowitz                     Sarah Marshall, Meredith Dibert
Derryberry & Naifeh, LLP                Lindaman and Hugh M. Robert
4800 North Lincoln Blvd.                Bank of America Center
Oklahoma City, OK 73105                 15 W. 6th Street, Ste. 2800
Attorney for Defendant, Caterpillar     Tulsa, OK 74119
Financial Services Corporation.         sarah@smr-law.com
                                        Attorney for Defendant, Nathan O.
                                        Beauchamp, Ada Outdoors, LLC and
                                        Shawnee Outdoors, LLC.

The Board of County Commissioners of    Corporation Service Company
Pontotoc County                         c/o United States Corporation Company
100 W. 13th                             10300 Greenbriar Place
Ada, OK 74820                           Oklahoma City, OK 73159

Corporation Service Company             First United Bank and Trust Co.
c/o United States Corporation Company   c/o Spend Life Wisely Company, Inc.
801 Adlai Stevenson Drive               1400W. Main
Springfield, IL 62703                   Durant, OK 74701

Huntington Distribution Finance         Magoo Financial
c/o CT Corporation System               13943 Irvine Blvd, #85
1833 South Morgan Road                  Irvine, CA 92602
Oklahoma City, OK 73128

Oklahoma Heritage Bank                  Paula Hall, Treasurer of Pontotoc
c/o R. Darryl Fisher                    County
515 S. Hickory                          100 W 13th
Roff, OK 74865                          Ada, Oklahoma 74820

TCF Inventory Finance
c/o CT Corporation System
1833 South Morgan Road
Oklahoma City, OK 73128
       Case 5:24-cv-00662-JD    Document 1     Filed 06/28/24   Page 5 of 5




                                      s/ Kay Sewell
                                     Assistant U.S. Attorney
Exhibits:
Exhibit 1 - State Court Summons (Pottawatomie County)
Exhibit 2 - Petition (Pottawatomie County)
Exhibit 3 - Pottawatomie County OSCN Docket Sheet for CJ-2024-141
